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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


VALEANT PHARMACEUTICALS
NORTH AMERICA LLC; VALEANT
PHARMACEUTICALS IRELAND LTD.;
DOW PHARMACEUTICAL SCIENCES, INC.;
and KAKEN PHARMACEUTICAL CO., LTD.,                        Civil Action No. 18-13695

                       Plaintiffs,                        Document Electronically Filed

               v.

SOLARIS PHARMA CORP.,

                       Defendant.



                       COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiffs   Valeant    Pharmaceuticals   North   America   LLC    (“Valeant”), Valeant

Pharmaceuticals Ireland Ltd. (“Valeant Ireland”), Dow Pharmaceutical Sciences, Inc. (“Dow”),

and Kaken Pharmaceutical Co., Ltd. (“Kaken”) (collectively, “Plaintiffs”) by way of this

Complaint against Solaris Pharma Corporation (“Solaris”) allege as follows:

                                         THE PARTIES

       1.       Plaintiff Valeant is a limited liability company organized and existing under the

laws of Delaware having its principal place of business at 400 Somerset Corporate Boulevard,



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Bridgewater, New Jersey 08807.

       2.       Plaintiff Valeant Ireland is a company existing under the laws of Ireland having

an office at 3013 Lake Drive, Citywest Business Campus, Dublin 24, Ireland.

       3.       Plaintiff Dow is a corporation organized and existing under the laws of Delaware

having its principal place of business at 1330 Redwood Way, Petaluma, California 94954.

       4.       Plaintiff Kaken is a corporation organized and existing under the laws of Japan

having its principal place of business at 20th Floor, Bunkyo Green Court, 28-8, Honkomagome

2-chome, Bunkyo-ku, Tokyo 113-8650, Japan.

       5.       Upon information and belief, Solaris is a New Jersey corporation having a

principal place of business at 1031 Route 202/206, Suite G-200, Bridgewater, New Jersey 08807.

                                 NATURE OF THE ACTION

       6.       This is an action for infringement of United States Patent Nos. 7,214,506 (“the

’506 patent”), 8,039,494 (“the ’494 patent”), 8,486,978 (“the ’978 patent”), 9,302,009 (“the ’009

patent”), 9,566,272 (“the ’272 patent”), 9,662,394 (“the ’394 patent”), 9,861,698 (“the ’698

patent”) and 9,877,955 (“the ’955 patent”) arising under the United States patent laws, Title 35,

United States Code, § 100 et seq., including 35 U.S.C. §§ 271 and 281. This action relates to

Solaris’s filing of an Abbreviated New Drug Application (“ANDA”) under section 505(j) of the

Federal Food, Drug, and Cosmetic Act (“the Act”), 21 U.S.C. § 355(j), seeking U.S. Food and

Drug Administration (“FDA”) approval to market its generic efinaconazole topical solution, 10%

(“Solaris’s generic efinaconazole topical solution”).

                                JURISDICTION AND VENUE

       7.       This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331, 1338(a), and

2201-02.




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        8.      Upon information and belief, this Court has jurisdiction over Solaris. Upon

information and belief, Solaris is in the business of, inter alia, developing, manufacturing,

marketing, importing, and selling pharmaceutical products, including generic drug products.

Upon information and belief, Solaris directly, or indirectly, develops, manufactures, markets, and

sells generic drug products throughout the United States and in this judicial district, and this

judicial district is a likely destination for Solaris’s generic efinaconazole topical solution. Upon

information and belief, Solaris is a New Jersey corporation having a principal place of business

at 1031 Route 202/206, Suite G-200, Bridgewater, New Jersey 08807. Upon information and

belief, Solaris purposefully has conducted and continues to conduct business in this judicial

district.

        9.      Solaris has taken the costly, significant step of applying to the FDA for approval

to engage in future activities—including the marketing of its generic drugs—that will be

purposefully directed at, upon information and belief, the State of New Jersey and elsewhere.

Solaris’s ANDA filings constitute formal acts that reliably indicate plans to engage in marketing

of the proposed generic drugs. Upon information and belief, Solaris intends to direct sales of its

drugs into New Jersey, among other places, once it has the requested FDA approval to market

them. Upon information and belief, Solaris will engage in marketing of its proposed ANDA

products in New Jersey upon approval of its ANDA.

        10.     Solaris knows or should know that Jublia® is manufactured for Valeant

Pharmaceuticals North America LLC in Bridgewater, NJ 08807 USA at least because that

information is included in the label and prescribing information for Jublia®.

        11.     Upon information and belief, venue is proper in this judicial district under

28 U.S.C. §§ 1391(c) and (d), and § 1400(b).




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        12.      Venue is proper against Solaris because it is incorporated in New Jersey and

operates a principal place of business in this judicial district.

                                     THE PATENTS IN SUIT

        13.      The United States Patent and Trademark Office (“PTO”) issued the ’506 patent

on May 8, 2007. The ’506 patent claims, generally speaking, inter alia, methods for treating

onychomycosis by administering efinaconazole. Plaintiffs hold all substantial rights in the ’506

patent and have the right to sue for infringement thereof.          The ’506 patent is valid and

enforceable. A copy of the ’506 patent is attached hereto as Exhibit A.

        14.      The PTO issued the ’494 patent on October 18, 2011. The ’494 patent claims,

generally speaking, inter alia, methods for treatment of a disorder of the nail or nail bed by

applying pharmaceutical compositions consisting essentially of a vehicle that is volatile and/or

that rapidly penetrates a nail following application onto the surface of the nail, a triazole

antifungal active pharmaceutical ingredient (encompassing efinaconazole) and a wetting agent.

Plaintiffs hold all substantial rights in the ’494 patent and have the right to sue for infringement

thereof. The ’494 patent is valid and enforceable. A copy of the ’494 patent is attached hereto

as Exhibit B.

        15.      The PTO issued the ’978 patent on July 16, 2013. The ’978 patent claims,

generally speaking inter alia, pharmaceutical compositions consisting essentially of a vehicle

that is volatile and/or that rapidly penetrates a nail following application onto the surface of the

nail, a triazole antifungal active pharmaceutical ingredient (encompassing efinaconazole) and a

wetting agent. Plaintiffs hold all substantial rights in the ’978 patent and have the right to sue for

infringement thereof. The ’978 patent is valid and enforceable. A copy of the ’978 patent is

attached hereto as Exhibit C.




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       16.      The PTO issued the ’009 patent on April 5, 2016. The ’009 patent claims,

generally speaking, inter alia, pharmaceutical compositions for the topical treatment of a

disorder of the nail or nail bed including efinaconazole, ethanol, cyclomethicone, diisopropyl

adipate, C12-15 alkyl lactate and antioxidant. Plaintiffs hold all substantial rights in the ’009

patent and have the right to sue for infringement thereof.         The ’009 patent is valid and

enforceable. A copy of the ’009 patent is attached hereto as Exhibit D.

       17.      The PTO issued the ’272 patent on February 14, 2017. The ’272 patent claims,

generally speaking, inter alia, methods for the treatment of onychomycosis by topically applying

pharmaceutical compositions including efinaconazole, ethanol, diisopropyl adipate, C12-15 alkyl

lactate and cyclomethicone. Plaintiffs hold all substantial rights in the ’272 patent and have the

right to sue for infringement thereof. The ’272 patent is valid and enforceable. A copy of the

’272 patent is attached hereto as Exhibit E.

       18.      The PTO issued the ’394 patent on May 30, 2017. The ’394 patent claims,

generally speaking, inter alia, compositions including efinaconazole, water, C12-15 alkyl lactate,

diisopropyl adipate, cyclomethicone, ethanol, BHT, a salt of EDTA, and citric acid, and methods

of treating a fungal infection with the same compositions. Plaintiffs hold all substantial rights in

the ’394 patent and have the right to sue for infringement thereof. The ’394 patent is valid and

enforceable. A copy of the ’394 patent is attached hereto as Exhibit F.

       19.      The PTO issued the ’698 patent on January 9, 2018. The ’698 patent claims,

generally speaking, inter alia, pharmaceutical formulations comprising ethanol, cyclomethicone,

diisopropyl adipate and mixed C12-15 alkyl lactates, and methods for the treatment of a disorder

of the nail or nail bed by applying the same compositions. Plaintiffs hold all substantial rights in

the ’698 patent and have the right to sue for infringement thereof. The ’698 patent is valid and




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enforceable. A copy of the ’698 patent is attached hereto as Exhibit G.

       20.      The PTO issued the ’955 patent on January 30, 2018. The ’955 patent claims,

generally speaking, inter alia, methods for the treatment of onychomycosis by applying a

pharmaceutical composition including efinaconazole, ethanol, diisopropyl adipate, C12-15 alkyl

lactate and cyclomethicone. Plaintiffs hold all substantial rights in the ’955 patent and have the

right to sue for infringement thereof. The ’955 patent is valid and enforceable. A copy of the

’955 patent is attached hereto as Exhibit H.

       21.      Dow is the holder of New Drug Application (“NDA”) No. 203567 for Jublia®,

which the FDA approved on June 6, 2014. In conjunction with NDA No. 203567, the ’506

patent, the ’494 patent, the ’978 patent, the ’009 patent, the ’272 patent, the ’394 patent, the ’698

patent, and the ’955 patent are listed in the FDA’s Approved Drug Products with Therapeutic

Equivalence Evaluations (“the Orange Book”).

       22.      Efinaconazole topical solution, 10% is sold in the United States under the

trademark Jublia®.

                      SOLARIS’S INFRINGING ANDA SUBMISSION

       23.      Upon information and belief, Solaris filed or caused to be filed with the FDA

ANDA No. 212159, under Section 505(j) of the Act and 21 U.S.C. § 355(j).

       24.      Upon information and belief, Solaris’s ANDA No. 212159 seeks FDA approval

to sell in the United States Solaris’s generic efinaconazole topical solution, intended to be a

generic version of Jublia®.

       25.      Kaken and Dow received a letter dated August 8, 2018 from Solaris purporting

to be a Notice of Certification for ANDA No. 212159 (“Solaris’s notice letter”) under Section 21

U.S.C. § 355(j)(2)(B)(iv) and 21 C.F.R. § 314.95(c) that included a certification pursuant to 21




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U.S.C. § 355(j)(2)(A)(vii)(IV).

       26.      Solaris’s notice letter alleges that Solaris has submitted to the FDA ANDA No.

212159 seeking FDA approval to sell Solaris’s generic efinaconazole topical solution, intended

to be a generic version of Jublia®.

       27.      Upon information and belief, ANDA No. 212159 seeks approval of Solaris’s

generic efinaconazole topical solution that is the same, or substantially the same, as Jublia®.

                                  COUNT I AGAINST SOLARIS

                       Infringement of the ’506 Patent under § 271(e)(2)

       28.      Paragraphs 1-27 are incorporated herein as set forth above.

       29.      Under 35 U.S.C. § 271(e)(2), Solaris has infringed at least one claim of the ’506

patent by submitting, or causing to be submitted to the FDA, ANDA No. 212159 seeking

approval for the commercial marketing of Solaris’s generic efinaconazole topical solution before

the expiration date of the ’506 patent.

       30.      Upon information and belief, Solaris’s generic efinaconazole topical solution

will, if approved and marketed, infringe, either literally or under the doctrine of equivalents, at

least one claim of the ’506 patent.

       31.      Upon information and belief, Solaris will, through the manufacture, use, import,

offer for sale, and/or sale of Solaris’s generic efinaconazole topical solution, directly infringe,

contributorily infringe, and/or induce infringement of at least one claim of the ’506 patent.

       32.      If Solaris’s marketing and sale of its generic efinaconazole topical solution prior

to the expiration of the ’506 patent is not enjoined, Plaintiffs will suffer substantial and

irreparable harm for which there is no adequate remedy at law.




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                                COUNT II AGAINST SOLARIS

                  Declaratory Judgment of Infringement of the ’506 Patent

        33.     Paragraphs 1-32 are incorporated herein as set forth above.

        34.     These claims arise under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and

2202.

        35.     There is an actual case or controversy such that the Court may entertain

Plaintiffs’ request for declaratory relief consistent with Article III of the United States

Constitution, and this actual case or controversy requires a declaration of rights by this Court.

        36.     Solaris has made, and will continue to make, substantial preparation in the

United States to manufacture, use, offer to sell, sell, and/or import Solaris’s generic

efinaconazole topical solution before the expiration date of the ’506 patent, including Solaris’s

filing of ANDA No. 212159.

        37.     Upon information and belief, any commercial manufacture, use, offer for sale,

sale, and/or importation of Solaris’s generic efinaconazole topical solution will directly infringe,

contributorily infringe, and/or induce infringement of at least one claim of the ’506 patent.

        38.     Plaintiffs are entitled to a declaratory judgment that future commercial

manufacture, use, offer for sale, sale, and/or importation of Solaris’s generic efinaconazole

topical solution will constitute infringement of at least one claim of the ’506 patent.

                               COUNT III AGAINST SOLARIS

                       Infringement of the ’494 Patent under § 271(e)(2)

        39.     Paragraphs 1-38 are incorporated herein as set forth above.

        40.     Under 35 U.S.C. § 271(e)(2), Solaris has infringed at least one claim of the ’494

patent by submitting, or causing to be submitted to the FDA, ANDA No. 212159 seeking

approval for the commercial marketing of Solaris’s generic efinaconazole topical solution before


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the expiration date of the ’494 patent.

        41.     Upon information and belief, Solaris’s generic efinaconazole topical solution

will, if approved and marketed, infringe, either literally or under the doctrine of equivalents, at

least one claim of the ’494 patent.

        42.     Upon information and belief, Solaris will, through the manufacture, use, import,

offer for sale, and/or sale of Solaris’s generic efinaconazole topical solution, directly infringe,

contributorily infringe, and/or induce infringement of at least one claim of the ’494 patent.

        43.     If Solaris’s marketing and sale of its generic efinaconazole topical solution prior

to the expiration of the ’494 patent is not enjoined, Plaintiffs will suffer substantial and

irreparable harm for which there is no adequate remedy at law.

                               COUNT IV AGAINST SOLARIS

                  Declaratory Judgment of Infringement of the ’494 Patent

        44.     Paragraphs 1-43 are incorporated herein as set forth above.

        45.     These claims arise under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and

2202.

        46.     There is an actual case or controversy such that the Court may entertain

Plaintiffs’ request for declaratory relief consistent with Article III of the United States

Constitution, and this actual case or controversy requires a declaration of rights by this Court.

        47.     Solaris has made, and will continue to make, substantial preparation in the

United States to manufacture, use, offer to sell, sell, and/or import Solaris’s generic

efinaconazole topical solution before the expiration date of the ’494 patent, including Solaris’s

filing of ANDA No. 212159.

        48.     Upon information and belief, any commercial manufacture, use, offer for sale,




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sale, and/or importation of Solaris’s generic efinaconazole topical solution will directly infringe,

contributorily infringe, and/or induce infringement of at least one claim of the ’494 patent.

       49.      Plaintiffs are entitled to a declaratory judgment that future commercial

manufacture, use, offer for sale, sale, and/or importation of Solaris’s generic efinaconazole

topical solution will constitute infringement of at least one claim of the ’494 patent.

                                COUNT V AGAINST SOLARIS

                       Infringement of the ’978 Patent under § 271(e)(2)

       50.      Paragraphs 1-49 are incorporated herein as set forth above.

       51.      Under 35 U.S.C. § 271(e)(2), Solaris has infringed at least one claim of the ’978

patent by submitting, or causing to be submitted to the FDA, ANDA No. 212159 seeking

approval for the commercial marketing of Solaris’s generic efinaconazole topical solution before

the expiration date of the ’978 patent.

       52.      Upon information and belief, Solaris’s generic efinaconazole topical solution

will, if approved and marketed, infringe, either literally or under the doctrine of equivalents, at

least one claim of the ’978 patent.

       53.      Upon information and belief, Solaris will, through the manufacture, use, import,

offer for sale, and/or sale of Solaris’s generic efinaconazole topical solution, directly infringe,

contributorily infringe, and/or induce infringement of at least one claim of the ’978 patent.

       54.      If Solaris’s marketing and sale of its generic efinaconazole topical solution prior

to the expiration of the ’978 patent is not enjoined, Plaintiffs will suffer substantial and

irreparable harm for which there is no adequate remedy at law.




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                               COUNT VI AGAINST SOLARIS

                  Declaratory Judgment of Infringement of the ’978 Patent

        55.     Paragraphs 1-54 are incorporated herein as set forth above.

        56.     These claims arise under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and

2202.

        57.     There is an actual case or controversy such that the Court may entertain

Plaintiffs’ request for declaratory relief consistent with Article III of the United States

Constitution, and this actual case or controversy requires a declaration of rights by this Court.

        58.     Solaris has made, and will continue to make, substantial preparation in the

United States to manufacture, use, offer to sell, sell, and/or import Solaris’s generic

efinaconazole topical solution before the expiration date of the ’978 patent, including Solaris’s

filing of ANDA No. 212159.

        59.     Upon information and belief, any commercial manufacture, use, offer for sale,

sale, and/or importation of Solaris’s generic efinaconazole topical solution will directly infringe,

contributorily infringe, and/or induce infringement of at least one claim of the ’978 patent.

        60.     Plaintiffs are entitled to a declaratory judgment that future commercial

manufacture, use, offer for sale, sale, and/or importation of Solaris’s generic efinaconazole

topical solution will constitute infringement of at least one claim of the ’978 patent.

                               COUNT VII AGAINST SOLARIS

                       Infringement of the ’009 Patent under § 271(e)(2)

        61.     Paragraphs 1-60 are incorporated herein as set forth above.

        62.     Under 35 U.S.C. § 271(e)(2), Solaris has infringed at least one claim of the ’009

patent by submitting, or causing to be submitted to the FDA, ANDA No. 212159 seeking

approval for the commercial marketing of Solaris’s generic efinaconazole topical solution before


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the expiration date of the ’009 patent.

        63.     Upon information and belief, Solaris’s generic efinaconazole topical solution

will, if approved and marketed, infringe, either literally or under the doctrine of equivalents, at

least one claim of the ’009 patent.

        64.     Upon information and belief, Solaris will, through the manufacture, use, import,

offer for sale, and/or sale of Solaris’s generic efinaconazole topical solution, directly infringe,

contributorily infringe, and/or induce infringement of at least one claim of the ’009 patent.

        65.     If Solaris’s marketing and sale of its generic efinaconazole topical solution prior

to the expiration of the ’009 patent is not enjoined, Plaintiffs will suffer substantial and

irreparable harm for which there is no adequate remedy at law.

                              COUNT VIII AGAINST SOLARIS

                  Declaratory Judgment of Infringement of the ’009 Patent

        66.     Paragraphs 1-65 are incorporated herein as set forth above.

        67.     These claims arise under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and

2202.

        68.     There is an actual case or controversy such that the Court may entertain

Plaintiffs’ request for declaratory relief consistent with Article III of the United States

Constitution, and this actual case or controversy requires a declaration of rights by this Court.

        69.     Solaris has made, and will continue to make, substantial preparation in the

United States to manufacture, use, offer to sell, sell, and/or import Solaris’s generic

efinaconazole topical solution before the expiration date of the ’009 patent, including Solaris’s

filing of ANDA No. 212159.

        70.     Upon information and belief, any commercial manufacture, use, offer for sale,




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sale, and/or importation of Solaris’s generic efinaconazole topical solution will directly infringe,

contributorily infringe, and/or induce infringement of at least one claim of the ’009 patent.

       71.      Plaintiffs are entitled to a declaratory judgment that future commercial

manufacture, use, offer for sale, sale, and/or importation of Solaris’s generic efinaconazole

topical solution will constitute infringement of at least one claim of the ’009 patent.

                               COUNT IX AGAINST SOLARIS

                       Infringement of the ’272 Patent under § 271(e)(2)

       72.      Paragraphs 1-71 are incorporated herein as set forth above.

       73.      Under 35 U.S.C. § 271(e)(2), Solaris has infringed at least one claim of the ’272

patent by submitting, or causing to be submitted to the FDA, ANDA No. 212159 seeking

approval for the commercial marketing of Solaris’s generic efinaconazole topical solution before

the expiration date of the ’272 patent.

       74.      Upon information and belief, Solaris’s generic efinaconazole topical solution

will, if approved and marketed, infringe, either literally or under the doctrine of equivalents, at

least one claim of the ’272 patent.

       75.      Upon information and belief, Solaris will, through the manufacture, use, import,

offer for sale, and/or sale of Solaris’s generic efinaconazole topical solution, directly infringe,

contributorily infringe, and/or induce infringement of at least one claim of the ’272 patent.

       76.      If Solaris’s marketing and sale of its generic efinaconazole topical solution prior

to the expiration of the ’272 patent is not enjoined, Plaintiffs will suffer substantial and

irreparable harm for which there is no adequate remedy at law.

                                COUNT X AGAINST SOLARIS

                  Declaratory Judgment of Infringement of the ’272 Patent

       77.     Paragraphs 1-76 are incorporated herein as set forth above.


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        78.    These claims arise under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and

2202.

        79.    There is an actual case or controversy such that the Court may entertain Plaintiffs’

request for declaratory relief consistent with Article III of the United States Constitution, and this

actual case or controversy requires a declaration of rights by this Court.

        80.    Solaris has made, and will continue to make, substantial preparation in the United

States to manufacture, use, offer to sell, sell, and/or import Solaris’s generic efinaconazole

topical solution before the expiration date of the ’272 patent, including Solaris’s filing of ANDA

No. 212159.

        81.    Upon information and belief, any commercial manufacture, use, offer for sale,

sale, and/or importation of Solaris’s generic efinaconazole topical solution will directly infringe,

contributorily infringe, and/or induce infringement of at least one claim of the ’272 patent.

        82.    Plaintiffs are entitled to a declaratory judgment that future commercial

manufacture, use, offer for sale, sale, and/or importation of Solaris’s generic efinaconazole

topical solution will constitute infringement of at least one claim of the ’272 patent.

                                COUNT XI AGAINST SOLARIS

                       Infringement of the ’394 Patent under § 271(e)(2)

        83.     Paragraphs 1-82 are incorporated herein as set forth above.

        84.     Under 35 U.S.C. § 271(e)(2), Solaris has infringed at least one claim of the ’394

patent by submitting, or causing to be submitted to the FDA, ANDA No. 212159 seeking

approval for the commercial marketing of Solaris’s generic efinaconazole topical solution before

the expiration date of the ’394 patent.

        85.     Upon information and belief, Solaris’s generic efinaconazole topical solution

will, if approved and marketed, infringe, either literally or under the doctrine of equivalents, at


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least one claim of the ’394 patent.

        86.     Upon information and belief, Solaris will, through the manufacture, use, import,

offer for sale, and/or sale of Solaris’s generic efinaconazole topical solution, directly infringe,

contributorily infringe, and/or induce infringement of at least one claim of the ’394 patent.

        87.     If Solaris’s marketing and sale of its generic efinaconazole topical solution prior

to the expiration of the ’394 patent is not enjoined, Plaintiffs will suffer substantial and

irreparable harm for which there is no adequate remedy at law.

                               COUNT XII AGAINST SOLARIS

                   Declaratory Judgment of Infringement of the ’394 Patent

        88.    Paragraphs 1-87 are incorporated herein as set forth above.

        89.    These claims arise under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and

2202.

        90.    There is an actual case or controversy such that the Court may entertain Plaintiffs’

request for declaratory relief consistent with Article III of the United States Constitution, and this

actual case or controversy requires a declaration of rights by this Court.

        91.    Solaris has made, and will continue to make, substantial preparation in the United

States to manufacture, use, offer to sell, sell, and/or import Solaris’s generic efinaconazole

topical solution before the expiration date of the ’394 patent, including Solaris’s filing of ANDA

No. 212159.

        92.    Upon information and belief, any commercial manufacture, use, offer for sale,

sale, and/or importation of Solaris’s generic efinaconazole topical solution will directly infringe,

contributorily infringe, and/or induce infringement of at least one claim of the ’394 patent.

        93.    Plaintiffs are entitled to a declaratory judgment that future commercial




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manufacture, use, offer for sale, sale, and/or importation of Solaris’s generic efinaconazole

topical solution will constitute infringement of at least one claim of the ’394 patent.

                              COUNT XIII AGAINST SOLARIS

                       Infringement of the ’698 Patent under § 271(e)(2)

        94.     Paragraphs 1-93 are incorporated herein as set forth above.

        95.     Under 35 U.S.C. § 271(e)(2), Solaris has infringed at least one claim of the ’698

patent by submitting, or causing to be submitted to the FDA, ANDA No. 212159 seeking

approval for the commercial marketing of Solaris’s generic efinaconazole topical solution before

the expiration date of the ’698 patent.

        96.     Upon information and belief, Solaris’s generic efinaconazole topical solution

will, if approved and marketed, infringe, either literally or under the doctrine of equivalents, at

least one claim of the ’698 patent.

        97.     Upon information and belief, Solaris will, through the manufacture, use, import,

offer for sale, and/or sale of Solaris’s generic efinaconazole topical solution, directly infringe,

contributorily infringe, and/or induce infringement of at least one claim of the ’698 patent.

        98.     If Solaris’s marketing and sale of its generic efinaconazole topical solution prior

to the expiration of the ’698 patent is not enjoined, Plaintiffs will suffer substantial and

irreparable harm for which there is no adequate remedy at law.

                               COUNT XIV AGAINST SOLARIS

                  Declaratory Judgment of Infringement of the ’698 Patent

        99.    Paragraphs 1-98 are incorporated herein as set forth above.

        100.   These claims arise under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and

2202.

        101.   There is an actual case or controversy such that the Court may entertain Plaintiffs’


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request for declaratory relief consistent with Article III of the United States Constitution, and this

actual case or controversy requires a declaration of rights by this Court.

       102.    Solaris has made, and will continue to make, substantial preparation in the United

States to manufacture, use, offer to sell, sell, and/or import Solaris’s generic efinaconazole

topical solution before the expiration date of the ’698 patent, including Solaris’s filing of ANDA

No. 212159.

       103.    Upon information and belief, any commercial manufacture, use, offer for sale,

sale, and/or importation of Solaris’s generic efinaconazole topical solution will directly infringe,

contributorily infringe, and/or induce infringement of at least one claim of the ’698 patent.

       104.    Plaintiffs are entitled to a declaratory judgment that future commercial

manufacture, use, offer for sale, sale, and/or importation of Solaris’s generic efinaconazole

topical solution will constitute infringement of at least one claim of the ’698 patent.

                               COUNT XV AGAINST SOLARIS

                       Infringement of the ’955 Patent under § 271(e)(2)

       105.     Paragraphs 1-104 are incorporated herein as set forth above.

       106.     Under 35 U.S.C. § 271(e)(2), Solaris has infringed at least one claim of the ’955

patent by submitting, or causing to be submitted to the FDA, ANDA No. 212159 seeking

approval for the commercial marketing of Solaris’s generic efinaconazole topical solution before

the expiration date of the ’955 patent.

       107.     Upon information and belief, Solaris’s generic efinaconazole topical solution

will, if approved and marketed, infringe, either literally or under the doctrine of equivalents, at

least one claim of the ’955 patent.

       108.     Upon information and belief, Solaris will, through the manufacture, use, import,

offer for sale, and/or sale of Solaris’s generic efinaconazole topical solution, directly infringe,


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contributorily infringe, and/or induce infringement of at least one claim of the ’955 patent.

        109.    If Solaris’s marketing and sale of its generic efinaconazole topical solution prior

to the expiration of the ’955 patent is not enjoined, Plaintiffs will suffer substantial and

irreparable harm for which there is no adequate remedy at law.

                               COUNT XVI AGAINST SOLARIS

                   Declaratory Judgment of Infringement of the ’955 Patent

        110.   Paragraphs 1-109 are incorporated herein as set forth above.

        111.   These claims arise under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and

2202.

        112.   There is an actual case or controversy such that the Court may entertain Plaintiffs’

request for declaratory relief consistent with Article III of the United States Constitution, and this

actual case or controversy requires a declaration of rights by this Court.

        113.   Solaris has made, and will continue to make, substantial preparation in the United

States to manufacture, use, offer to sell, sell, and/or import Solaris’s generic efinaconazole

topical solution before the expiration date of the ’955 patent, including Solaris’s filing of ANDA

No. 212159.

        114.   Upon information and belief, any commercial manufacture, use, offer for sale,

sale, and/or importation of Solaris’s generic efinaconazole topical solution will directly infringe,

contributorily infringe, and/or induce infringement of at least one claim of the ’955 patent.

        115.   Plaintiffs are entitled to a declaratory judgment that future commercial

manufacture, use, offer for sale, sale, and/or importation of Solaris’s generic efinaconazole

topical solution will constitute infringement of at least one claim of the ’955 patent.




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                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that the Court enter judgment in their

favor and against Solaris on the patent infringement claims set forth above and respectfully

request that this Court:

       1.          enter judgment that, under 35 U.S.C. § 271(e)(2), Solaris has infringed at least

one claim of the ’506 patent by submitting or causing to be submitted ANDA No. 212159 to the

FDA to obtain approval for the commercial manufacture, use, import, offer for sale, and/or sale

in the United States of Solaris’s generic efinaconazole topical solution before the expiration of

the ’506 patent;

       2.          enter judgment that, under 35 U.S.C. § 271(e)(2), Solaris has infringed at least

one claim of the ’494 patent by submitting or causing to be submitted ANDA No. 212159 to the

FDA to obtain approval for the commercial manufacture, use, import, offer for sale, and/or sale

in the United States of Solaris’s generic efinaconazole topical solution before the expiration of

the ’494 patent;

       3.          enter judgment that, under 35 U.S.C. § 271(e)(2), Solaris has infringed at least

one claim of the ’978 patent by submitting or causing to be submitted ANDA No. 212159 to the

FDA to obtain approval for the commercial manufacture, use, import, offer for sale, and/or sale

in the United States of Solaris’s generic efinaconazole topical solution before the expiration of

the ’978 patent;

       4.          enter judgment that, under 35 U.S.C. § 271(e)(2), Solaris has infringed at least

one claim of the ’009 patent by submitting or causing to be submitted ANDA No. 212159 to the

FDA to obtain approval for the commercial manufacture, use, import, offer for sale, and/or sale

in the United States of Solaris’s generic efinaconazole topical solution before the expiration of




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the ’009 patent;

       5.          enter judgment that, under 35 U.S.C. § 271(e)(2), Solaris has infringed at least

one claim of the ’272 patent by submitting or causing to be submitted ANDA No. 212159 to the

FDA to obtain approval for the commercial manufacture, use, import, offer for sale, and/or sale

in the United States of Solaris’s generic efinaconazole topical solution before the expiration of

the ’272 patent;

       6.          enter judgment that, under 35 U.S.C. § 271(e)(2), Solaris has infringed at least

one claim of the ’394 patent by submitting or causing to be submitted ANDA No. 212159 to the

FDA to obtain approval for the commercial manufacture, use, import, offer for sale, and/or sale

in the United States of Solaris’s generic efinaconazole topical solution before the expiration of

the ’394 patent;

       7.          enter judgment that, under 35 U.S.C. § 271(e)(2), Solaris has infringed at least

one claim of the ’698 patent by submitting or causing to be submitted ANDA No. 212159 to the

FDA to obtain approval for the commercial manufacture, use, import, offer for sale, and/or sale

in the United States of Solaris’s generic efinaconazole topical solution before the expiration of

the ’698 patent;

       8.          enter judgment that, under 35 U.S.C. § 271(e)(2), Solaris has infringed at least

one claim of the ’955 patent by submitting or causing to be submitted ANDA No. 212159 to the

FDA to obtain approval for the commercial manufacture, use, import, offer for sale, and/or sale

in the United States of Solaris’s generic efinaconazole topical solution before the expiration of

the ’955 patent;

       9.          order that that the effective date of any approval by the FDA of Solaris’s generic

efinaconazole topical solution be a date that is not earlier than the expiration of the ’506 patent,




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the ’494 patent, the ’978 patent, the ’009 patent, the ’272 patent, the ’394 patent, the ’698 patent,

and the ’955 patent, or such later date as the Court may determine;

          10.      enjoin Solaris from the commercial manufacture, use, import, offer for sale,

and/or sale of Solaris’s generic efinaconazole topical solution until expiration of the ’506 patent,

the ’494 patent, the ’978 patent, the ’009 patent, the ’272 patent, the ’394 patent, the ’698 patent,

and the ’955 patent, or such later date as the Court may determine;

          11.      enjoin Solaris and all persons acting in concert with Solaris from seeking,

obtaining, or maintaining approval of Solaris’s ANDA No. 212159 until expiration of the ’506

patent, the ’494 patent, the ’978 patent, the ’009 patent, the ’272 patent, the ’394 patent, the ’698

patent, and the ’955 patent;

          12.      declare this to be an exceptional case under 35 U.S.C. §§ 285 and 271(e)(4) and

award Plaintiffs costs, expenses, and disbursements in this action, including reasonable

attorney’s fees;

          13.      award Plaintiffs such further and additional relief as this Court deems just and

proper.

Dated: September 7, 2018                       Respectfully submitted,
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                       CERTIFICATION OF NON-ARBITRABILITY
                       PURSUANT TO LOCAL CIVIL RULE 201.1(d)

        Pursuant to Local Civil Rule 201.1(d), the undersigned counsel hereby certifies that this

action seeks declaratory and injunctive relief and, therefore, is not subject to mandatory

arbitration.

        I certify under penalty of perjury that the foregoing is true and correct.


Dated: September 7, 2018                       s/ William P. Deni, Jr.
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